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                                 CERTIFICATE OF SERVICE
       I, Charles J. Brown, III, Esquire, certify that on November 16, 2023, I caused a true and

correct copy of the Declaration of Deborah K. Levy in Support of Reply Brief in Further

Support of Motion to Change Election to Opt Into Expedited Payment/Convenience Class or Other

Necessary Relief On Behalf Of Survivor Claimant R.N., to be electronically filed and served via CM/ECF

to all parties requesting electronic service in this case and upon the parties listed below via electronic mail:

Morris, Nichols, Arsht & Tunnell LLP
Attn: Derek C. Abbott, Andrew R. Remming, Sophie Rogers Churchill
1201 North Market Street, 16th Floor, P.O. Box 1347
Wilmington, Delaware 19899-1347
Email: dabbott@morrisnichols.com; aremming@morrisnichols.com;
srchurchill@morrisnichols.com

White & Case LLP
Attn: Jessica C. Lauria
1221 Avenue of the Americas
New York, New York 10020
Email: jessica.lauria@whitecase.com

White & Case LLP
Attn: Michael C. Andolina, Matthew E. Linder, Blair Warner, Laura E. Baccash
111 South Wacker Drive
Chicago, Illinois 60606
Email: mandolina@whitecase.com; mlinder@whitecase.com; blair.warner@whitecase.com;
laura.baccash@whitecase.com

Pachulski Stang Ziehl & Jones LLP
Richard M. Pachulski, Debra I. Grassgreen, James E. O’Neill
919 N. Market Street
17th Floor
P.O. Box 8705
Wilmington, DE 19899-8705
 Email: rpachulski@pszjlaw.com; dgrassgreen@pszjlaw.com; joneill@pszjlaw.com

Gilbert LLP
Kami E. Quinn, Emily P. Grim, Sarah A. Sraders
700 Pennsylvania Avenue, SE
Suite 400
Washington, DC 20003
Email: quinnk@gilbertlegal.com; grime@gilbertlegal.com; sraderss@gilbertlegal.com
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    Office of the United States Trustee
    for the District of Delaware
    Attn: Timothy J. Fox, Jr, Hannah M. McColllum
    844 King Street, Suite 2207
    Lockbox 35
    Wilmington, Delaware 19801
    Email: Timothy.Fox@usdoj.gov; hannah.mccollum@usdoj.gov



                                          /s/ Charles J. Brown, III
                                          Charles J. Brown, III (DE 3368)
    Dated: November 16, 2023              GELLERT SCALI BUSENKELL & BROWN, LLC
                                          1201 N. Orange Street, Suite 300
                                          Wilmington, DE 19801
                                          Telephone: (302) 425-5813
                                          cbrown@gsbblaw.com

                                          Counsel for R.N.




Of Counsel:
Deborah K. Levy, Esq.
Junell & Associates, PLLC
3737 Buffalo Speedway Suite 1850
Houston, Texas 77098
Phone: 713-221-3750
kschroeder@junell-law.com
